   Case 1:19-md-02875-RMB-SAK                   Document 2305              Filed 03/23/23    Page 1 of 2 PageID:
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                            S KADDEN , A RPS , S LATE , M EAGHER & F LOM LLP
                                                 ONE MAN HATT AN W EST
                                                                                                       FIRM/AFFILIATE OFFICES
                                                 NEW YORK, NY 10001                                            -----------
                                                            ________                                         BOSTON
                                                                                                            CHICAGO
                                                     TEL: (212) 735-3000                                    HOUSTON
                                                     FAX: (212) 735-2000                                  LOS ANGELES
                                                                                                           PALO ALTO
                                                       www.skadden.com                                  WASHINGTON, D.C.
   DIRECT DIAL                                                                                             WILMINGTON
                                                                                                               -----------
(212) 735-2588
                                                                                                              BEIJING
   DIRECT FAX
                                                                                                            BRUSSELS
(917) 777-2588                                                                                             FRANKFURT
   EMAIL ADDRESS                                                                                           HONG KONG
Jessica.Davidson@SKADDEN.COM                                                                                 LONDON
                                                                                                              MUNICH
                                                                                                               PARIS
                                                                                                           SÃO PAULO
                                                                                                              SEOUL
                                                                                                            SHANGHAI
                                                         March 23, 2023                                    SINGAPORE
                                                                                                               TOKYO
                                                                                                             TORONTO

          VIA ECF

                 The Hon. Robert B. Kugler                             Special Master
                 United States District Judge                          Hon. Thomas Vanaskie
                 USDJ, District of New Jersey                          Stevens & Lee
                 Mitchell H. Cohen Building & U.S.                     1500 Market Street, East
                 Courthouse                                            Tower, 18th Floor
                 4th & Cooper Streets, Room 1050                       Philadelphia, PA 19103
                 Camden, NJ 08101

                           RE: In re Valsartan, Losartan, and Irbesartan Products Liability Litigation,
                           No. 1:19-md-2875-RBK-KMW (D.N.J.)

       Dear Judge Kugler and Judge Vanaskie:

               I am writing as Liaison Counsel for Manufacturer Defendants to request that the Court
       enter the attached proposed order amending Case Management Order No. 29 to reflect the
       parties’ agreement to a short extension of the current deadlines for filing opposition and reply
       briefs in connection with the parties’ Daubert motions. The parties have also agreed that
       plaintiffs may file two briefs in opposition to defendants’ Motion To Partially Exclude Opinions
       Of Drs. Stephen Hecht And Ramin Najafi (ECF No. 2292) in order to address each of these
       proposed experts separately, and that defendants may file two reply briefs in support of the
       motion.

               As set forth in the attached proposed order, the new briefing deadlines agreed upon by the
       parties are as follows:

                       •   Responsive briefs in opposition to Daubert motions: April 11, 2023

                       •   Reply briefs in support of Daubert motions: April 25, 2023
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 March 23, 2023
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       Thank you for your consideration of this request.

                                            Respectfully Submitted,




                                            Jessica Davidson


       Enclosure

       CC: All Counsel (via ECF)
